 8:07-cr-00187-LSC-TDT          Doc # 94      Filed: 12/19/07     Page 1 of 5 - Page ID # 403


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:07CR187-001

                                                     USM Number 21700-047

RAYMOND DAVID HARTZ
               Defendant
                                                     HORACIO J. WHEELOCK

                                                     Defendant’s Attorney
___________________________________

                        AMENDED JUDGMENT IN A CRIMINAL CASE

Date of Original Judgment: 12/03/2007 (Or Date of Last Amended Judgment)

Reason for Amendment: Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

THE DEFENDANT pleaded guilty to count II of the Indictment on August 27, 2007.

ACCORDINGLY, the court has adjudicated that the Defendant is guilty of the following offense:

                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded                Number


                                                       September 3, 2004                II
 18:513(a) POSSESSION & UTTERING A
 COUNTERFEIT AND FORGED SECURITY

The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count I of the Indictment is dismissed on the motion of the United States as to this Defendant only.



IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                             November 26, 2007

                                                                      s/Laurie Smith Camp
                                                                      United States District Judge

                                                                       December 19, 2007
 8:07-cr-00187-LSC-TDT            Doc # 94      Filed: 12/19/07       Page 2 of 5 - Page ID # 404


Defendant: Raymond David Hartz                                                                  Page 2 of 5
Case Number: 8:07CR187

                                            PROBATION
The Defendant is hereby sentenced to probation for a term of 3 Years.

The Defendant shall not commit another federal, state, or local crime.

The Defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The Defendant shall refrain from any unlawful use of a controlled substance. The Defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two period drug
tests thereafter.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the Defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The Defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The Defendant shall also comply with any additional conditions.

                             STANDARD CONDITIONS OF SUPERVISION

1. the Defendant shall not leave the judicial district without the permission of the court or probation
officer;
2. the Defendant shall report to the probation officer and shall submit a truthful and complete
written report within the first five days of each month;
3. the Defendant shall answer truthfully all inquiries by the probation officer and follow the
instructions of the probation officer;
4. the Defendant shall support his or her dependents and meet other family responsibilities;
5. the Defendant shall work regularly at a lawful occupation, unless excused by the probation officer
for schooling, training, or other acceptable reasons;
6. the Defendant shall notify the probation officer at least ten days prior to any change in residence
or employment;
7. the Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
distribute, or administer any controlled substance or any paraphernalia related to any controlled
substances, except as prescribed by a physician;
8. the Defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;
9. the Defendant shall not associate with any persons engaged in criminal activity and shall not
associate with any person convicted of a felony, unless granted permission to do so by the
probation officer;
10. the Defendant shall permit a probation officer to visit him or her at any time at home or
elsewhere and shall permit confiscation of any contraband observed in plain view of the probation
officer;
11. the Defendant shall notify the probation officer within seventy-two hours of being arrested or
questioned by a law enforcement officer;
12. the Defendant shall not enter into any agreement to act as an informer or a special agent of
a law enforcement agency without the permission of the court;
13. as directed by the probation officer, the Defendant shall notify third parties of risks that may be
occasioned by the Defendant’s criminal record or personal history or characteristics and shall
permit the probation officer to make such notifications and to confirm the Defendant’s compliance
with such notification requirement.
 8:07-cr-00187-LSC-TDT               Doc # 94       Filed: 12/19/07         Page 3 of 5 - Page ID # 405


Defendant: Raymond David Hartz                                                                           Page 3 of 5
Case Number: 8:07CR187


                                 SPECIAL CONDITIONS OF SUPERVISION


1.       The Defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
         to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
         2004), if such sample was not collected during imprisonment.

2.       Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
         from excessive use of alcohol, the Defendant shall not purchase or possess, use, distribute or
         administer any alcohol, just the same as any other narcotic or controlled substance.

3.       The Defendant shall submit his or her person, residence, office, or vehicle to a search conducted by
         a United States Probation Officer at any time; failure to submit to a search may be grounds for
         revocation; the Defendant shall warn any other residents that the premises may be subject to
         searches pursuant to this condition.

4.       The Defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
         or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
         substance abuse, as directed by the United States Probation officer.

5.       The Defendant shall attend a public, private or private non-profit offender rehabilitation program that
         has been approved by the United States Probation officer, in consultation with a State Coalition
         Against Domestic Violence or other appropriate experts.

6.       The Defendant shall maintain proper debit, credit, and receipt ledgers for all business and personal
         transactions. These records shall be made available as requested by the probation officer.

7.       Defendant shall not make application for any loan, enter into any credit arrangement, or enter into any
         residential or business lease agreement without approval of the probation officer.

8.       The Defendant is prohibited from incurring new credit charges or opening additional lines of credit
         without prior written approval of the probation officer.

9.       Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
         Officer. Based on the Defendant’s ability to pay, the defendant shall pay for the costs of the program
         in an amount determined by the probation officer.


10.      The Defendant shall provide the United States Probation officer with access to any requested financial
         information.

11.      Pursuant to 18 U.S.C. § 3563 (a) (5), the Defendant shall submit to a drug test within fifteen (15) days
         of release on supervised release and at least two (2) periodic drug tests thereafter to determine
         whether the Defendant is using a controlled substances in an amount determined by the probation
         officer. Further, the Defendant shall submit to such testing as requested by any United States
         Probation officer to detect the presence of controlled substances in the Defendant’s body fluids and
         to determine whether the Defendant has used any of those substances. Based on the Defendant’s
         ability to pay, the Defendant shall pay for the collection of urine samples to be tested for the presence
         of controlled substances in an amount determined by the probation officer.

12.      The Defendant shall report to the United States Probation office for the District of Nebraska between
         the hours of 8:00am and 4:30pm, 111 South 18th Plaza, Suite C79, Omaha Nebraska, (402) 661-
         7555, within seventy-two (72) hours of being placed on probation and, thereafter, as directed by the
         probation officer.
 8:07-cr-00187-LSC-TDT             Doc # 94       Filed: 12/19/07      Page 4 of 5 - Page ID # 406


Defendant: Raymond David Hartz                                                                    Page 4 of 5
Case Number: 8:07CR187

                                 CRIMINAL MONETARY PENALTIES

       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                        Total Fine                     Total Restitution
            $100.00                                                      $5096.75
The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that: interest requirement is waived.

                                                  FINE

          No fine imposed.

                                             RESTITUTION

         Restitution in the amount of $5096.75 is hereby ordered. The Defendant shall make
restitution to the following payees in the amounts listed below.

         If the Defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                      Priority Order
                                 **Total Amount             Amount of                 or Percentage
      Name of Payee                  of Loss            Restitution Ordered            of Payment

 Certegy Check                       $9146                     $1300                    Priority
 Services                                                                        Order/Percentage

 El Alteno                         $5392.28                  $2,337.15                  Priority
                                                                                 Order/Percentage

 Wells Fargo                       $10581.51                 $1,459.60                  Priority
                                                                                 Order/Percentage

 Totals                            $25,119.79                $5,096.75


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.



Following the imposition of sentence, the Court advised the Defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.
 8:07-cr-00187-LSC-TDT              Doc # 94       Filed: 12/19/07   Page 5 of 5 - Page ID # 407


Defendant: Raymond David Hartz                                                                Page 5 of 5
Case Number: 8:07CR187

                                     SCHEDULE OF PAYMENTS
The Defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The Defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the Defendant’s term of incarceration, the Defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the Defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the Defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $30 or 5% of the Defendant’s gross income, whichever is greater; (b) the first payment shall
commence 60 days following the Defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the Defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The Defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Restitution is hereby ordered jointly and severally with: Richard Wirth 8:07CR203 & Jean Long-
Wirth 8:07CR207.
CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK
By ______________________________________Deputy Clerk
